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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 20-21601-CIV-WILLIAMS


       UNITED STATES OF AMERICA,
                                        Plaintiff,
                          vs.
       GENESIS II CHURCH OF HEALTH
         AND HEALING;
       MARK GRENON;
       JOSEPH GRENON;
       JORDAN GRENON; and
       JONATHAN GRENON,

                                    Defendants.




                         ORDER ON PRELIMINARY INJUNCTION

             1.     Plaintiff has filed a Complaint for Injunction against Genesis II Church

      of Health and Healing (“Genesis”), and individual defendants Mark Grenon, Joseph

      Grenon, Jordan Grenon, and Jonathan Grenon (collectively, “Defendants”)

      pursuant to the Federal Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C.

      § 332(a), alleging that Defendants directly or indirectly:

                    A.     Violate 21 U.S.C. § 331(d), by introducing or delivering for

      introduction into interstate commerce new drugs, as defined in 21 U.S.C. § 321(p),

      that are neither approved pursuant to 21 U.S.C. § 355 nor exempt from approval;
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                    B.     Violate 21 U.S.C. § 331(a), by introducing or delivering for

      introduction into interstate commerce drugs, as defined in 21 U.S.C. § 321(g), that

      are misbranded within the meaning of 21 U.S.C. § 352(a) and (f)(1); and

                    C.     Violate 21 U.S.C. § 331(k), by causing drugs to become

      misbranded within the meaning of 21 U.S.C. § 352(a) and (f)(1) while they are held

      for sale after shipment of one or more of their components in interstate commerce.

             2.     This Court has jurisdiction over the subject matter of this case and

      over all persons and parties to this action under the FDCA, 21 U.S.C. § 332(a).

             3.     The Complaint for injunction states a cause of action under FDCA, 21

      U.S.C. § 301 et seq.

             4.     Because the United States’ motion is based on 21 U.S.C. § 332(a),

      which expressly authorizes injunctive relief to protect the public interest, no specific

      finding of irreparable harm is necessary, no showing of any inadequacy of other

      remedies at law is necessary and no balancing of interests of the parties is required

      prior to the issuance of a preliminary injunction in this case. To obtain a preliminary

      injunction, the United states must demonstrate a substantial likelihood that it will

      succeed on the merits of its claim, and some cognizable danger of recurrent

      violation. See Gresham v. Windrush Partners, Ltd., 730 F.2d 1417, 1423 (11th Cir.

      1984); United States v. Livdahl, 356 F. Supp. 2d 1289, 1290–91 (S.D. Fla. 2005);

      United States v. BioAnue Labs, Inc., 2014 WL 3696662, at *5 (M.D. Ga. July 23,

      2014); United States v. S. Serra Cheese Co., 2015 WL 6156961, at *6 (E.D. Mich.

      Oct. 20, 2015).




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            5.     The Court finds that United States has demonstrated a substantial

      likelihood of success on the merits that Defendants are violating various sections

      of the FDCA. Specifically, the Court finds that United States has demonstrated a

      substantial likelihood of success on the merits that Defendants are:

            A.     Violating 21 U.S.C. § 331(d), by introducing or delivering for

            introduction into interstate commerce new drugs, as defined in 21 U.S.C.

            § 321(p), that are neither approved pursuant to 21 U.S.C. § 355 nor exempt

            from approval. In support of this finding, the United States has presented

            evidence showing that:

                   1.    MMS is a “drug” as defined by 21 U.S.C. § 321(g). Defendants

                         have posted content on their websites claiming that MMS is

                         intended for curing, mitigating, treating, or preventing COVID-

                         19, Alzheimer’s, autism, brain cancer, HIV / AIDS, and multiple

                         sclerosis. (DE 3-1 at Exs. 3-12, 14-16, 18-20.)

                   2.    MMS is a “new drug” as defined in 21 U.S.C. § 321 (p)(1) and

                         (p)(2). Affiant Dr. Arthur F. Simone (Senior Medical Advisor in

                         the Office of Unapproved Drugs and Labeling Compliance at

                         the Center for Drug Evaluation and Research at the FDA)

                         explained that after conducting “comprehensive searches of the

                         publicly available medical and scientific literatures for MMS and

                         its alias,” he found “that there are no published adequate and

                         well-controlled studies demonstrating that MMS is GRASE for




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                      its intended use. Because there are no adequate and well-

                      controlled studies for the intended uses of MMS, qualified

                      experts cannot come to a consensus of opinion concerning its

                      safety and effectiveness for such uses.” (DE 3-3 at ¶ 22.)

                 3.   MMS has not been approved by the FDA.               Dr. Simone

                      explained that after conducting “diligent searches” on various

                      databases to “determine whether any Defendant has sought

                      approval for MMS and to determine whether MMS has been

                      approved by the FDA,” his searches “did not identify any NDA

                      or ANDA for Defendants’ MMS product. Because none of the

                      Defendants sought FDA approval for MMS, and neither an NDA

                      nor an ANDA for MMS has been approved by FDA, I conclude

                      that the MMS, associated with any Defendant, is an unapproved

                      new drug.” (DE 3-3 at ¶¶ 32-35.)

                 4.   Defendants have introduced MMS into interstate commerce.

                      Affiant Tiffany Petty (Program Analyst in the Health Fraud

                      Branch in the Office of Regulatory Affair’s Division of

                      Enforcement, FDA) explained that on March 27, 2020, she

                      visited Defendants’ website and “[u]sing an undercover credit

                      card and a fictitious name, I placed an order for: one (1) bottle

                      of MMS 2 oz. (Sodium Chlorite); one (1) bottle of MMS2 powder

                      2.5 oz; and one (1) pack of clear capsules.” (DE 3-1 at ¶¶ 16-




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                       18.)   Affiant Jason Humbert (Director of the Health Fraud

                       Branch) explained that on March 30, 2020, he “traveled

                       undercover” to the “mailbox in Ashburn, Virginia that is

                       associated with the fictitious identity Petty used to purchase

                       Defendants’ MMS products.       I collected the shipment with

                       USPS Tracking number 9405511298370940883574 for order

                       28665 that was made by Petty. The package containing the

                       product contained the return address of 2014 Garden Lane,

                       Bradenton, Florida 34205.” (DE 3-2 at ¶ 11.) Plaintiffs also

                       provided screenshots of the online order and confirmation

                       emails, as well as photographs of the package and its contents.

                       (DE 3-1 at exs. 13, 17; DE 3-2 at ex. 2).

           B.    Violating 21 U.S.C. § 331(a), by introducing or delivering for

           introduction into interstate commerce drugs, as defined in 21 U.S.C.

           § 321(g), that are misbranded within the meaning of 21 U.S.C. § 352(a) and

           (f)(1). In support of this finding, the United States has presented evidence

           showing that:

                 1.    MMS is mislabeled because “it’s labeling is false or misleading

                       in any particular” under 21 U.S.C. § 352(a). Defendants have

                       claimed that MMS is intended for curing, mitigating, treating, or

                       preventing COVID-19, Alzheimer’s, autism, brain cancer, HIV /

                       AIDS, and multiple sclerosis. (DE 3-1 at exs. 3-12, 14-16, 18-




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                       20.) Dr. Simone explained that there are no adequate and well-

                       controlled studies demonstrating that MMS can safely or

                       effectively treat these diseases. (DE 3-3 at ¶ 22.)

                 2.    MMS is misbranded because its labeling does not include

                       “adequate directions for use” as defined by 21 U.S.C. § 352(a),

                       because it lacks “directions under which the layman can use a

                       drug safely and for the purposes for which it is intended.” Dr.

                       Simone explained that “Defendants’ drug is a prescription drug

                       because it is intended for curing, mitigating, treating, or

                       preventing coronavirus, and many other serious diseases. . .

                       that require diagnosis and management by a physician.

                       Specifically, medical expertise and special clinical testing are

                       necessary to diagnose these serious disease.              .    .

                       Consequently, adequate directions under which a layman can

                       safely use Defendants’ MMS product to cure, mitigate, treat, or

                       prevent coronavirus, or other serious diseases . . . cannot be

                       written.” (DE 3-3 at ¶ 37.)

           C.    Violating 21 U.S.C. § 331(k), by causing drugs to become misbranded

           within the meaning of 21 U.S.C. § 352(a) and (f)(1) while they are held for

           sale after shipment of one or more of their components in interstate

           commerce. In support of this finding, the United States has presented

           evidence showing that:




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                   1.    MMS is “held for sale” because it is intended for purposes other

                         than Defendants’ personal consumption. See United States v.

                         US Stem Cell Clinic, LLC, 403 F. Supp. 3d 1279 (S.D. Fla.

                         2019).    The United States has introduced screenshots of

                         Defendants’ sales website demonstrating Defendants’ intent to

                         sell MMS to others. (DE 3-1 at ex. 13.)

      6.    The Court finds that the United States has shown a cognizable danger that

            Defendants will continue to violate the FDCA in the future unless a

            preliminary injunction is issued. In their written response to the FDA’s April

            8, 2020 cease and desist letter demanding corrective action regarding MMS

            distribution and mislabeling (DE 3-2 at ex. 8), Defendants state that “There

            will be NO corrective actions on our part,” “You have no authority over us! .

            . . Never going to happen,” and “We don’t have to cease anything in regard

            to our Church Sacraments!” (DE 3-2 at ex. 10). 1

      7.    The Court finds that the conditions for granting a preliminary injunction under

            21 U.S.C. § 332(a) have been met.

      After considering the foregoing, it is therefore, ORDERED AND ADJUDGED that:

      1.    The United States’ motion for a preliminary injunction (DE 3) is GRANTED.



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        The Government also submitted evidence demonstrating Defendants’ open
      refusal to comply with the Court’s April 17, 2020 Temporary Restraining Order (DE
      3). For instance, on April 26, 2020, Defendants Mark and Joseph Grenon hosted
      a website broadcast / podcast and Mark Grenon stated, “[j]ust because the FDA
      submits a TRO and the DOJ . . . signs the order, it doesn’t mean it has to be obeyed
      or even given attention.” (DE 23 at ex. 4.)



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      2.     Upon entry of this Order, Defendants and each and all of their directors,

      officers, agents, representatives, employees, successors, assigns, attorneys, and

      any and all persons in active concert or participation with any of them (hereinafter,

      “Associated Persons”) who receive actual notice of this Order, shall not, during the

      pendency of this action, directly or indirectly, label, hold, and/or distribute any drug,

      including but not limited to MMS, that does not have an approved new drug

      application pursuant to 21 U.S.C. § 355(b) or abbreviated new drug application

      pursuant to 21 U.S.C. § 355(j), or an investigational new drug application in effect

      for its use pursuant to 21 U.S.C. § 355(i), or any drug that is misbranded within the

      meaning of 21 U.S.C. § 352.

      3.     Upon entry of this Order, Defendants and Associated Persons, shall not,

      directly or indirectly, violate 21 U.S.C. § 331(k) by causing any drug, including but

      not limited to MMS, to become misbranded within the meaning of 21 U.S.C.

      § 352(a) and/or (f)(1) after shipment of one or more of its components in interstate

      commerce.

      4.     Upon entry of this Order, Defendants and Associated Persons shall

      immediately refrain from disposing of or transferring any assets that may interfere

      with implementation of payment of restitution to consumers who purchased

      Defendants’ drugs, should the Court ultimately order such restitution payments in

      its final judgment in this matter.

      5.     Upon entry of this Order, Defendants and Associated Persons are prohibited

      from destroying, discarding, altering, transferring or otherwise making unavailable




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      any document or record in electronic format or otherwise within their custody or

      control that are related to (a) MMS; (b) misbranded drugs; and/or (c) unapproved

      new drugs.

      6.    Representatives of FDA shall be permitted, without prior notice and as and

      when FDA deems necessary, to inspect Defendants’ places of business and take

      any other measures necessary to monitor and ensure continuing compliance with

      the terms of this Order. During such inspections, FDA representatives shall be

      permitted to: have immediate access to buildings, including but not limited to 2014

      Garden Ln, Bradenton, FL 34205-5274 (the “Facility”), equipment, raw ingredients,

      in-process materials, finished products, containers, packaging material, labeling,

      and other promotional material therein; take photographs and make video

      recordings; take samples of Defendants’ in-process or unfinished and finished

      products, containers, packaging material, labeling, and other promotional material;

      and examine and copy all records relating to the labeling, holding, and distribution

      of any and all drugs and their components. The inspections shall be permitted upon

      presentation of a copy of this Order and appropriate credentials. The inspection

      authority granted by this Order is separate and apart from, and in addition to, the

      authority to make inspections under the FDCA, 21 U.S.C. § 374.

      7.    Defendants shall bear the cost of any inspections, analytical work, and

      supervisory activities that FDA deems necessary to evaluate Defendants’

      compliance with any of the terms of this Order.




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      8.     Defendants shall post a copy of this Order in a common area at the Facility

      and at any other location at which Defendants conduct business and shall ensure

      that the Order remains posted for as long as the Order remains in effect.

      9.     IT IS FURTHER ORDERED that the United States shall promptly provide

      notice of this action and this Order to Defendants by attempting service at last

      known email addresses and physical addresses. Pursuant Rule 65(c) of the

      Federal Rules of Civil Procedure, United States of America shall not be required

      to post security for the instant action.

      DONE AND ORDERED in chambers in Miami, Florida, this 1st day of May, 2020.




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